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 1   DAVID A. TORRES AND ASSOCIATES
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 5   Attorney for:
     CORAL HERRERA
 6

 7                          IN THE UNITED STATES DISTRICT COURT
 8                        FOR THE EASTERN DISTRICT of CALIFORNIA
 9
                                                     ) Case No.: 1:16-cr-00106 LJO-SKO
10   UNITED STATES OF AMERICA,                       )
                                                     ) STIPULATION AND ORDER TO
11                  Plaintiff,                       ) CONTINUE THE SENTENCING DATE
                                                     )
12       vs.                                         )
     CORAL HERRERA,                                  )
13                                                   )
                    Defendant                        )
14                                                   )
15   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
16   LAWRENCE O’NEILL AND KAREN ESCOBAR, ASSISTANT UNITED STATES

17   ATTORNEY:

18          COMES NOW Defendant, CORAL HERRERA, by and through his attorney of record,

19   David A. Torres, hereby requesting that the sentencing hearing currently set for Monday,

20   December 4, 2017 be continued to Monday, January 22, 2018.

21          The co-defendant, Sair Eduardo Maldonado, will be sentenced on December 18, 2017. In

22   the event Ms. Herrera is sentenced to any period of incarceration, we believe it is necessary for

23   the co-defendant to be sentenced first in the hopes that a staggered sentence can be fashioned.

24   The co-defendant is that father of Coral’s child. I have spoken to AUSA Karen Escobar and she

25   has no objection to continuing the sentencing hearing.




                          Stipulation and Proposed Order to Continue Sentencing
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          Case 1:16-cr-00106-LJO-SKO Document 102 Filed 11/29/17 Page 2 of 2


 1         IT IS SO STIPULATED.

 2                                                            Respectfully Submitted,

 3   DATED: November 29, 2017                                 /s/ David A Torres        ___
                                                              DAVID A. TORRES
 4                                                            Attorney for Defendant
                                                              CORAL HERRERA
 5

 6

 7   DATED: November 29, 2017                                 /s/Karen Escobar__________
                                                              KAREN ESCOBAR
 8                                                            Assistant U.S. Attorney

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10

11                                            ORDER

12         The sentencing hearing is continued to January 22, 2018.

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15   IT IS SO ORDERED.

16      Dated:   November 29, 2017                      /s/ Lawrence J. O’Neill _____
                                               UNITED STATES CHIEF DISTRICT JUDGE
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                        Stipulation and Proposed Order to Continue Sentencing
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